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3                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
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     THE CINCINNATI INSURANCE                  No. 2:17-cv-00140-SMJ
5    COMPANY, an Ohio Corporation;
     and THE CINCINNATI INDEMNITY
6    COMPANY, an Ohio Corporation,             ORDER RE SANCTIONS

7                             Plaintiffs,

8                v.

9    ZAYCON FOODS LLC, a Washington
     limited liability company; FRANK
10   MARESCA and JANE DOE
     MARESCA, husband and wife, and the
11   marital community composed thereof;
     MICHAEL GIUNTA and JANE DOE
12   GIUNTA, husband and wife, and the
     marital community composed thereof;
13   MIKE CONRAD and JANE DOE
     CONRAD, husband and wife, and the
14   marital community composed thereof;
     ADAM KREMIN and JANE DOE
15   KREMIN, husband and wife, and the
     marital community composed thereof;
16   and RICHARD BRADDOCK, an
     individual,
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                              Defendants.
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19         At the Telephonic Scheduling Conference on August 4, 2017, the Court

20   stated its intent to sanction Plaintiffs’ counsel, Gary Sparling, and Defendants’




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1    counsel, Carl J. Oreskovich, in the amount of $250 each for failure to comply with

2    Federal Rule of Civil Procedure 26(f) and the Court’s scheduling notice. ECF No.

3    12. The Court has the inherent power to manage its cases and courtroom

4    effectively and to ensure obedience to its orders. Aloe Vera of Am., Inc. v. United

5    States, 376 F.3d 960, 964–65 (9th Cir. 2004). “As a function of this power, courts

6    can dismiss cases in their entirety, bar witnesses, award attorney’s fees and assess

7    fines.” Id. at 965 (quoting F.J. Hanshaw Enters., Inc. v. Emerald River Dev., Inc.,

8    244 F.3d 1128, 1136 (9th Cir.2001) (citations omitted). The Court does not

9    exercise its authority to sanction a member of the bar lightly, but the Court finds

10   both counsels’ failure to comply with the civil rules and the Court’s orders

11   concerning. This failure unnecessarily delayed the proceedings in this matter and

12   resulted in unnecessary costs to the Court and the parties.

13         Accordingly, IT IS HEREBY ORDERED:

14         1.     Counsel may respond to this order at the telephonic hearing

15                scheduled for Thursday, August 17, 2017, at 8:45 a.m., and may file

16                a written response on or before Tuesday, August 15, 2017.

17         2.     Absent evidence to the contrary, the Court will find that sanctions are

18                appropriate and will assume that $250 is less than the amount of fees

19                and costs incurred by the parties and the Court as a result of the

20                failure to comply with the civil rules.




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1          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

2    and provide copies to all counsel.

3          DATED this 8th day of August 2017.

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5                       SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER - 3
